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                              IN THE UNITED STATES DISTRICT COURT

                              FOR THE DISTRICT OF SOUTH CAROLINA

                                          CHARLESTON DIVISION

UNITED STATES OF AMERICA,           )                            CRIMINAL NUMBER: 2:07-578
                                    )
-versus-                            )
                                    )                           NOTICE OF INTENT TO APPEAL
ALBERT E PARISH, JR.,               )
                                    )
            Defendant.              )
____________________________________)

         Notice is hereby given that Albert E. Parish, Jr., the Defendant in the above-referenced case,

hereby appeals to the United States Court of Appeals for the Fourth Circuit from the ruling by the

Honorable David C. Norton, entered in this action on the 7th day of July, 2008. Counsel submits

this Notice at the request of the Defendant and pursuant to the directives of the United States Fourth

Circuit Court of Appeals in of United States v. Poindexter.1


                                                       Respectfully Submitted,

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                                              BY:      S/Andrew J. Savage, III
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                                                       ATTORNEY FOR DEFENDANT
Charleston, South Carolina
July 15, 2008



         1
          See 492 F.3d 263 (4th Cir. 2007). Poindexter holds that counsel is required to file a Notice of Intent to
Appeal at a client’s direction, even if so doing is contrary to the provisions contained within a plea agreement or is
harmful to the client’s interests.
